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Declaration of Mike Farrell

Pursuant to the provisions of 28 U.S.C. § 1746, I, Mike Farrell, make the following
declaration under oath.

1. I have practiced law in Jackson, Mississippi for 48 years. I have been a member of the
Mississippi Bar since 1974. The focus of my practice has been employment litigation in addition
to some commercial and business litigation. Most of my practice has been concentrated in the
Jackson area, but I have traveled to other federal and state courts in Mississippi and sometimes to

adjoining states.

2. For the last year, I have been winding down my practice in anticipation of retiring on
his 73rd birthday on September 15, 2021. However, the projected closing date is now March 31,
2022.

3. Ihave never been to the State of Washington, nor have I ever represented any clients in
the State of Washington. But for Mr. Bullis and Ken Alford, I have never represented anybody

from Washington.

4. This declaration sets forth the background on how I came to represent Guy Bullis and
other plaintiffs in lawsuits filed in Louisiana and later in Virginia against Computer Science

Corporation (CSC).

5. My involvement in the CSC cases started in 2013 when I was contacted by Victoria
Rhodes who lives near Jackson, Mississippi. She explained that she recently returned from Iraq
where she had worked for CSC. CSC is a large defense contractor that had a DOD contract to

help with the “war against terror” in Iraq, Kuwait and Afghanistan. CSC hired many hundreds of

U S citizens to work there.

6. CSC required all employees to sign a standard written employment agreement that
provided for an hourly rate of $32. CSC paid the hourly rate for the first 40 hours but required

the employees to work 84 hours a week without any additional pay for the extra 44 hours.
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7. Once Rhodes was back home in Mississippi, she came to see me to inquire if she had a

legal claim against CSC for not getting paid the $32 an hour for all hours worked. After

reviewing her contract, I advised her that she seemed to have a good claim for a breach of
contract claim. Rhodes said that if the case was meritorious, three friends (also former CSC co-
workers) wanted to join in any lawsuit. I filed a diversity suit for them against CSC in federal

court in Jackson, Mississippi on April 10, 2013.

8. CSC mounted a vigorous defense. First, it asked the court to transfer the case to the
federal court in Alexandria, Virginia, where CSC is headquartered. The federal court in Jackson
granted that motion. In the meantime, another lawsuit (Rishell v. CSC) was filed in federal court
in Florida by another former employee against CSC making the same claim. Mr. Rishell was
represented by a Florida lawyer. That case was also transferred to federal court in Alexandria.

The Virginia court consolidated the cases for discovery and trial.

9. As the case progressed, Ms. Rhodes and the three other plaintiffs told their former
coworkers about their case. They had a lot of chatter on Facebook and emails. Rhodes and my
other three clients asked if their friends could join the suit. The deadline to add parties had
passed but I told them that I was contemplating filing another suit if anybody was interested.
Several people sent me blocks of email addresses of the former co-workers with whom they had

worked overseas. I only had email addresses, I did not have names, addresses or phone numbers.

10. After discovery, all parties filed motions for summary judgment. The district court
granted summary judgment for the plaintiffs on December 10, 2014. While CSC appealed to the
Fourth Circuit, I made plans to file the second suit. On January 16, 2015, I sent a solicitation

email to over 150 former CSC employees inviting them to join the litigation.

11. I used the email addresses to send a solicitation email to over 150 of them. I attached

an engagement agreement for them to sign and return in the event that they wanted to join the
new suit.
12. At that time, I only had email addresses. I did not know where any of these former

employees of CSC lived. One of the emails went to Guy Bullis. I did not know where he was at

the time he received my email or signed the engagement agreement.
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13. Bullis did not allege in his complaint that he was in Washington when he received my
email. The second page of the engagement agreement asked for their home address and their

work address if it was different. I needed their home addresses in order to plead diversity
jurisdiction.
14. Bullis sent me his signed engagement listing a home address in Dupont, Washington.

Before then, I had no idea where Bullis lived.

15. Before getting the signed engagement agreements, I did not have any idea where any
of them lived or where they were when they received my email and signed the engagement
agreement.

16. I did not target or purposefully avail myself of representing any resident of
Washington or any other state.

17. I was targeting former CSC employees wherever they lived or wherever they worked

at the time.

18. For purposes of alleging diversity jurisdiction, I had to ask each for their home

address.

19, About 78 former CSC employees engaged my law firm to file the suit. This was a
very large undertaking for me. While I had been in private practice for 39 years at that time, I
had been a solo practitioner with a single secretary since 2008. The following is a list of the

number of persons by state who were plaintiffs in the Rose case.

 

Georgia 16

Texas 12

North Carolina 11

Alabama

Florida

South Carolina

Maryland

California

| Arizona
Washington

| American Samoa
Germany

 

 

 

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Hawaii
Indiana
Louisiana
Mississippi
Nebraska
Oklahoma
Pennsylvania
Tennessee
Thailand
Wisconsin

 

 

 

 

 

 

 

 

 

 

 

 

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20. I started to focus on Louisiana as the venue for a new lawsuit. CSC was registered to
do business there. Louisiana had a very favorable statute that allowed employees seeking unpaid
wages to recover an additional penalty. I also did extensive research of the doctrine of /ex fori
under which courts apply the remedies of the forum state. CSC attorneys in the Rhodes case

were located in New Orleans. I was also reasonably familiar with the city.

21. I contacted Wanda Davis of the firm Leefe Gibbs law firm in Metairie, Louisiana, to
act as local counsel. She was recommended to me as a lawyer experienced in employment

litigation. She agreed on behalf of her firm.

22. In researching statute of limitations, I came across a list of states showing their
statutes of limitations on a written contract. To my surprise, the Louisiana statute was 10 years
on a written contract. I called local counsel and asked if I was reading the statute correctly. Ms.

Davis replied that I was. I relied on Louisiana counsel for the appropriate statute of limitations.

23, I then proceeded to finalize the lawsuit. The named plaintiff was Steve Rose who was
a resident of Louisiana. The complaint in Rose et al v. CSC was signed by the Leefe Gibbs firm
and filed in the Eastern District of Louisiana in New Orleans on March 13, 2015. They then filed

a motion for me to be admitted pro hac vice.

24. The defendant filed a motion for partial summary judgment based on a three-year
statute of limitations for a written employment contract. I was not familiar with that statute. I

again called local counsel who then advised me that the applicable statute on a written
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employment contract was three years — not the ten-year statute we had discussed earlier. Again, I
had relied on Louisiana counsel for purposes of the appropriate Louisiana statute of limitations.
Ex. A ¥ 24. Even though the court granted the motion for partial summary judgment, the
plaintiffs were still able to recover a settlement of $390,000 based on the 3-year statute of

limitations.

25. In an attempt to recover the damages that had been dismissed in Louisiana, I filed a
second lawsuit in Fairfax County, Virginia on October 5, 2018. Bullis was also a plaintiff in that
case styled as Alford et. al v. CSC. The circuit court dismissed the case on procedural grounds.

An appeal to the Virginia Supreme Court was not successful.

26. The undisputed acts show that I did not purposefully avail myself or seek the benefits

of doing business specifically in the state of Washington.

27. Farrell came to realize that many of the plaintiffs worked for multiple defense
contractors during the war years. For example, CSC sent Bullis an offer letter in 2010 addressed
to his home address in Dupont, Washington. However, the offer was sent to him by email. He

acknowledged in discovery that when he received the offer letter, he was already in Balad, Iraq.

I declare under penalty of perjury that the above statements are true and correct. Executed

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Mike Farrell

on January 3, 2022.

 
